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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

THE BABCOCK & WILCOX COMPANY                         CIVIL ACTION

VERSUS
                                                     NO.   05-4202

MCGRIFF, SEIBELS & WILLIAMS, INC and                 SECTION “J”(1)
MCGRIFF, SEIBELS & WILLIAMS OF TEXAS. INC


                           ORDER AND REASONS

        Before the Court is Defendants McGriff, Seibels & Williams,

Inc.’s and McGriff, Seibels & Williams of Texas, Inc.’s Motion to

Dismiss For Lack of Subject Matter Jurisdiction, Or,

Alternatively, Motion for Administrative Stay of Suit Pending

Resolution of State Court Action and Insurance Coverage Issues;

and Rule 12(b)(7) Motion to Dismiss for Failure to Join a Party

Under Rule 19 (Rec. Doc. 21), which came before the Court for

hearing on August 30, 2006.     Oral argument was waived by the

parties, and the matter was submitted for decision on the briefs

only.    The Court, having considered the record, the evidence

submitted, the law and applicable jurisprudence, finds that this

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matter should be stayed.

I.   BACKGROUND

     On February 22, 2000, the Babcock & Wilcox Company (“B&W”)

and certain of its subsidiaries filed for voluntary relief on

Chapter 11, Title 11 of the United States Code.         On or about

September 3, 2003, B&W was served with a Complaint (the

“underlying case”) filed in Illinois State Court by Citgo

Petroleum Corporation and PDV Midwest Refinery, L.L.C., (the

“Citgo Plaintiffs”) seeking recovery of unspecified damages

arising out of a fire that took place at its Lemont, Illinois

refinery in August of 2001.      At the time the underlying case was

filed, B&W was insured by primary and excess layers of general

liability insurance covering claims in excess of a self-insured

retention and deductible.      The primary and excess insurance

layers totaled $375,000,000.00 in coverage and included a third

layer excess liability “claims made” policy of insurance issued

by Starr Excess Liability Exchange (“Starr”), for the policy

period from January 1, 2003, through January 1, 2004.

     On November 1, 2005, B&W filed its Original Complaint with

this Court, alleging that Defendants contracted to perform

certain claims and services related to the Starr policy.

Specifically, B&W alleges that upon receipt of notice of the

underlying case, Defendants notified the first and second layer

excess insurance carriers of the Citgo Plaintiffs’ claim, but


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failed to notify Starr of the claim within the policy period.

B&W alleges that as a result, it has lost the benefit of a

settlement offer that would have limited collection to available

insurance limits and seeks declaratory relief that the defendants

are responsible for any losses in excess of insurance coverage

that B&W may incur in the future as a result of the Underlying

Case.

        B&W subsequently entered into a settlement agreement with

the Citgo Plaintiffs and certain intervening underwriters

entitled “Joint Stipulation and Accord” (“JSA”), approved by the

bankruptcy court on December 22, 2005.       The terms of the JSA

initially specified that B&W’s maximum liability for the non-

insured damages would be limited to $50,000,000; however, the

terms were later modified limiting B&W’s maximum liability for

the non-insured damages to $47,500,000.       B&W paid the Citgo

Plaintiffs $7.5 million shortly after February 22, 2006.

        All of the parties to this litigation contend that Starr

improperly denied coverage, and the pursuit of all claims against

Starr is a condition to the benefits and obligations set forth in

the JSA.    The Illinois state court action has been assigned to

the expedited tort action pool and it is anticipated that a trial

will occur this year.

        On August 11, 2006, the Citgo Plaintiffs instituted a direct

action suit (“the Direct Action”) against B&W, Starr Excess


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Liability Insurance Company, Ltd. and Starr Excess Liability

Insurance International Limited, a wholly-owned subsidiary of

Starr Excess Liability Insurance Company, Ltd., in Cause No. 06 L

00513, in the Circuit Court of Will County, Illinois, 12th

Judicial District.     The Citgo Plaintiffs invoke the provisions of

the Louisiana direct action statute, La. R.S. 22:655.

II.   ARGUMENTS OF THE PARTIES

      A.    Arguments of McGriff in Support of Dismissal or Stay

      B&W denies liability in the Underlying Case and Defendants

contend that the allegations in the present case make it clear

that, ultimately, there may be no damages awarded in the

Underlying Case and that this entire proceeding may prove

unnecessary.    Therefore, Defendants contend that B&W’s claims and

causes of action must be dismissed for lack of subject matter

jurisdiction and/or failure to join a party under Rule 19 of the

Federal Rules of Civil Procedure, or in the alternative, stayed

pending resolution of the Underlying Case.         In addition, B&W

asserts that the filing of the Direct Action provides the

Plaintiffs with another forum to fix and finalize B&W’s ultimate

liability and exposure for the uninsured losses.

      Defendant argues that given the uncertain nature of B&W’s

final liability and exposure, this case does not fall within the

exceptions to the Fifth Circuit’s general rule requiring a party

seeking indemnification to establish complete and actual


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liability on his part in order to recover against the

indemnifying party.    American Fidelity & Casualty Co. v.

Pennsylvania Threshermen & Farmer’s Mut. Cas. Ins.         Co., 280 F.2d

453, 457-58 (5th Cir. 1960).    This rule may be modified only if

the indemnitee can demonstrate that he either (1) tendered the

defense of an action to the indemnitor; (2) the claim for

indemnity is founded upon judgment, or (3) indemnitee’s claim is

based upon a written contract of insurance or indemnity.          Exxon

Corporation v. St. Paul Fire and Marine Ins. Co., 129 F.3d 781,

785 (5th Cir. 1997).   Because none of the exceptions to the

general rule exist in this case, B&W’s claims against McGriff

remain contingent and premature, warranting dismissal or stay           of

these proceedings.

     B.   Arguments of B&W in Opposition to Dismissal or Stay

     B&W argues that it will remain out-of-pocket for millions of

dollars, regardless of liability, due to the settlement agreement

entered into with the Citgo Plaintiffs.       As a result, B&W also

argues that it already has a present claim against McGriff for

damages in the amount of $7.5 million, which B&W paid to the

Citgo Plaintiffs in connection with the Underlying Litigation due

to McGriff’s complained-of acts and omissions. McGriff’s duties

and obligations to B&W with respect to the insurance policies

included providing timely and sufficient notice of claims or

occurrences to B&W’s insurers.     After the refinery fire that was


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the subject of the Underlying Litigation, McGriff notified some

of B&W’s insurers but failed to provide notice to the third layer

of insurance, issued by Starr, until later.        Starr relied on the

delay in notification to deny the claim, and that denial in turn

caused B&W to lose the benefit of a settlement offer under which

it would have had no uninsured exposure.       But for McGriff’s

apparent failure to provide satisfactory notice, B&W could and

would have settled the entire Citgo claim in June 2005 with no

uninsured exposure whatsoever.     With the loss of that settlement

agreement, B&W was forced to enter into an agreement which only

limited its liability to $50 million.

     B&W also alleges that McGriff breached its contractual

obligations and caused damages, and since these allegations must

be taken as true for purposes of Rule 12 motions, the motions to

dismiss should be denied.

III. LAW AND ANALYSIS

     Article III of the Constitution restricts a federal court’s

jurisdiction to actual “cases” or “controversies.”         U.S.

Constitution art. III, § 2, cl. 1.      Whether this requirement is

met in the context of a request for relief pursuant to the

federal Declaratory Judgment Act depends upon “whether the facts

alleged, under all circumstances, show that there is a

substantial controversy, between parties having adverse legal

interests, of sufficient immediacy and reality to warrant the


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issuance of a declaratory judgment.”      Maryland Cas. Co. v.

Pacific Coal & Oil Co., 312 U.S. 270, 273 (1941).         In addition to

the mandates of the Constitution, the Declaratory Judgment Act

also requires that the court only issue a declaration relating to

an “actual controversy.”    28 U.S.C. § 2201(a);      see Orix Credit

Alliance, Inc. v. Wolfe, 212 F.3d 891, 896 (5th Cir. 2000).             The

controversy at the heart of a declaratory judgment must also be

ripe, and the Supreme Court stated the general rule for

determining ripeness in Aetna Life Insurance Co. v. Haworth, 300

U.S. 227, 240-41, (1937):

                The controversy must be definite and concrete,
                touching the legal relations of parties having
                adverse legal interests... It must be a real and
                substantial controversy admitting of specific
                relief through a decree of a conclusive character,
                as distinguished from an opinion advising what the
                law would be upon a hypothetical state of facts.

     The issue of whether a case or controversy exists sufficient

to support this Court’s exercise of subject matter jurisdiction

is resolved by the application of federal law.        In re Summers,

325 U.S. 561, 566-67 (1945).     A declaratory judgment plaintiff

bears the burden of proving that there is an actual controversy,

and the exercise of that jurisdiction rests at the discretion of

the district court.    Fina Research, S.A. v. Baroid Ltd., 141 F.3d

1479, 1481 (D.C. Cir. 1998).

     A court should dismiss a case for lack of “ripeness” when

the case is abstract or hypothetical.       The key considerations are


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“the fitness of the issues for judicial decision and the hardship

to the parties of withholding court consideration,” and a case is

not ripe if further factual development is required.         New Orleans

Public Service, Inc. v. Council of New Orleans, 833 F.2d 583,

586-87 (5th Cir. 1987).

     The defendant relies principally on two cases to support its

argument that this Court should its exercise discretion to

dismiss or stay these proceedings.      In American Fidelity &

Casualty Co. v. Pennsylvania Threshermen & Farmers’ Mutual Cas.

Insurance Co., 280 F.2d 453 (5th Cir. 1960), the Fifth Circuit

affirmed the district court’s dismissal of American Fidelity’s

action seeking a declaration that it had no duty to indemnify its

insured in an underlying tort action.       The Fifth Circuit held

that American Fidelity did have a duty to defend its insured, but

upheld the district court’s ruling that American Fidelity’s

request was “not appropriate, especially since many of the

underlying questions would be litigated” in the underlying

action.   Id. at 457.   The Court, in addressing the issue of

ripeness, held that the district court properly “decline[d] to

express legal opinions on academic theoreticals which might never

come to pass.”   Id. at 461.    The Court relied on the fact that

the underlying action could resolve favorably for the insured,

rendering the issue of who is to pay the judgment moot, and that

factual issue would likely be resolved that bore upon the issue


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of coverage.   Id.

     The Fifth Circuit in Allstate Insurance Co. v. Employers

Liability Assurance Corp., 445 F.2d 1278, 1281 (5th Cir. 1971)

stated that “no action for declaratory relief will lie to

establish an insurer’s liability in a policy clause contest such

as the one at bar until a judgment has been rendered against the

insured since, until such judgment comes into being, the

liabilities are contingent and may never materialize.”         Defendant

contends that, although the instant case does not involve a

policy clause contest in the direct sense, the American Fidelity

and Allstate rationales still apply as B&W’s liability and damage

exposure remain contingent and uncertain until finally resolved

in the Underlying Case.    Further, they argue that the present

case is even more contingent and abstract than the American

Fidelity case.   First, until a judgment is entered against the

insured in the Citgo litigation which is greater than

$250,000,000, the potential liability of Starr is contingent and

may never materialize.    Even if such a judgment is rendered in

the Citgo litigation, any potential liability of the defendants

is contingent and may never materialize until there is a judgment

that Starr properly denied coverage and is not liable.

Therefore, both conditions must occur before McGriff could be

liable, and such potential liability is speculative, contingent,

and uncertain.


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     Under Illinois law, a plaintiff may add or subtract claims

at any time prior to the final judgment.        See 735 ILCS 5/2-616.

Therefore, Defendants contend, because the prevailing claims in

the Underlying Case may be different than those alleged at the

time of trial, any court order involving the presently pending

claims would be purely advisory.         Guaranty Nat. Ins. Co. v. North

River Ins. Co., 909 F.2d 133, 137 (5th Cir. 1990) (despite

pleadings in the underlying case alleging covered and excluded

claims, the jury’s findings on causation controlled which claims

were covered under the policy).      The Supreme Court stated that

“for a declaratory judgment to issue, there must be a dispute

which calls, not for an advisory opinion upon a hypothetical

basis, but for an adjudication of present right upon established

facts.”   Ashcroft v. Wattis, 431 U.S. 171, 172 (1977).

     No contract for indemnification exists between B&W and

McGriff, and a cause of action for implied indemnity does not

accrue or come into existence until the indemnitee has suffered

actual loss through payment.      American Sheet Metal, Inc. v. EmKay

Engineering, Inc., 478 F. Supp. 809, 814 (E.D. Cal. 1979).

Therefore, indemnification is inappropriate until actual

liability is found against the indemnitee, and “[i]n such

instances, courts normally dismiss declaratory judgment actions,

especially where the federal relief sought may hinge upon the

outcome of state court actions.” .        Ticor Title Ins. Co. of Cal.


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v. American Resources, 859 F.2d 772, 777 at n. 7 (9th Cir. 1988).

     Because the important facts of liability and damages have

yet to be determined, proceeding with this action would be

inappropriate.   District courts possess discretion in determining

whether and when to entertain an action under the Declaratory

Judgment Act.    Wilton v. Seven Falls Co., 515 U.S. 277, 282

(1995).   If the Citgo Plaintiffs prevail in the Underlying Case

and if the judgment against B&W is so large that Starr’s excess

policy would be necessary to compensate the Citgo Plaintiffs,

then a declaratory judgment requiring McGriff to indemnify B&W

may be appropriate.    Until that point is reached, however,

rendering such a judgment would not be proper.

     Accordingly,

     IT IS ORDERED that the Motion to Stay these proceedings

filed on behalf of the Defendants, McGriff, Seibels & Williams,

Inc., and McGriff, Seibels & Williams of Texas, Inc., be and the

same is hereby    GRANTED.

     IT IS FURTHER ORDERED that the Clerk of Court mark this

action closed for statistical purposes; and

     IT IS FURTHER ORDERED that the Court shall retain

jurisdiction and that the case shall be restored to the trial

docket upon motion of a party if circumstances change, so that it

may proceed to final disposition; this order shall not prejudice

the rights of the parties to this litigation.



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                             2nd day of October, 2006.
New Orleans, Louisiana this ____




                                     CARL J. BARBIER
                                     UNITED STATES DISTRICT JUDGE




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